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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


KEVIN FLICEK,                                     CIVIL NO. 16-1031 (PAM/DTS)
As Trustee for the Heirs and
Next of Kin of
Sinthanouxay Khottavongsa,

       Plaintiff,

v.                                                THIRD ORDER FOR
                                                  SETTLEMENT CONFERENCE
CITY OF BROOKLYN CENTER,
ALAN SALVOSA,
CODY TURNER and
GREGG NORDBY,
Police Officers acting in their
individual capacity as
City of Brooklyn Center
police officers,

       Defendants.


       This document is an Order of the Court and should be read carefully. All parties,

including those appearing pro se are expected to comply with the contents of this Order,

including specifically, the requirements for the confidential settlement letter.

       A settlement conference will be held on July 20, 2018 at 9:00 a.m.             in

Chambers 9E, United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota, before the undersigned United States Magistrate Judge. All participants

should plan on spending the entire day and evening, if necessary, at this settlement

conference.

I.     WHO MUST ATTEND

       Counsel who will actually try the case and each party, armed with full

settlement discretion, shall be present:


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        ●     Each party must attend through a person who has plenary authority to
              change that party’s settlement posture during the course of the
              conference. If the party representative has a limit, or “cap” on his or her
              authority, this requirement is not satisfied.

        ●     If individuals are parties to this case, they shall be present.

        ●     If a corporation or other collective entity is a party, a duly authorized
              officer or managing agent of that party shall be present. In all cases, the
              duly authorized officer or managing agent with settlement discretion
              cannot be in-house counsel directly managing the litigation.

        ●     In employment law cases the decision maker involved in any alleged
              adverse employment action against Plaintiff cannot be the individual
              with settlement discretion.

        ●     If an insurance company is involved, the responsible agent must be
              present.

II.     APPEARANCE BY TELEPHONE

        Appearances     by   telephone       are       not   permitted   except   in   extraordinary

circumstances, which must be brought to the attention of the Court and all parties no

later than one week prior to the settlement conference by first contacting the Court by

telephone to receive permission to electronically file a letter setting forth a full

explanation of the circumstances. Any responses to such a letter shall be electronically

filed no later than one business day following the filing of the letter request.

III.    MANDATORY PRE-CONFERENCE DISCUSSION

        In order to encourage the parties to address the issue of settlement on their own,

counsel must meet in person or telephonically with one another on or before July 12,

2018 to engage in a full and frank discussion of settlement. Each party will confirm

whether their last offer/demand is still open/renewed. If either side withdraws or fails to

renew its last settlement offer that party shall explain in its letter to the court its

justification for this change in position.


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       SETTLEMENT LETTER


       Each attorney shall submit to the undersigned on or before July 17, 2018, a

confidential letter, which shall inform the court of any significant developments since the

last settlement conference, but shall not repeat prior correspondence to the Court. This

letter is for the Court’s use only and should not be served on opposing counsel nor filed

on ECF. Counsel should email their confidential settlement letter as a Word document

to chambers at Schultz chambers@mnd.uscourts.gov.

IV.    FAILURE TO COMPLY WITH COURT ORDER

       Failure of any party or insurance company to comply with any part of this Order,

including failure to submit the letter in the format requested with the information

required, may result in the postponement of the settlement conference and imposition

of an appropriate sanction on the party, company or attorney who has failed to comply.

Please be advised that Fed. R. Civ. P. 16(f) specifically provides:

              (f) Sanctions.

              (1) In General. On motion or on its own, the court may issue
              any just     orders, including those authorized           by
              Rule 37(b)(2)(A)(ii)–(vii), if a party or its attorney:

              (A) fails to appear at a scheduling or other pretrial
              conference;

              (B) is substantially unprepared to participate—or does not
              participate in good faith—in the conference; or

              (C) fails to obey a scheduling or other pretrial order.

               (2) Imposing Fees and Costs. Instead of or in addition to
              any other sanction, the court must order the party, its
              attorney, or both to pay the reasonable expenses—including




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          attorney's fees—incurred because of any noncompliance
          with this rule, unless the noncompliance was substantially
          justified or other circumstances make an award of expenses
          unjust.

Dated:    July 10, 2018

                                          s/ David T. Schultz
                                          DAVID T. SCHULTZ
                                          United States Magistrate Judge




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